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AO 91 (Rev. ll/l l) Criminal Complaint

UNITED STATES DISTRICT COURT
for the IESEB§’J 3;’3’¢§§€ EZBZFISY"<“YGUH
Middle District of Louisiana Mwew§:€§,%§z drew

 

 

 

 

United States Of`America ) JUE‘_ ii 2 2018
v. )
) Case No. q
¢ `~ aaa
JA!ME GABRiEL GR\MALD\ PENA, ) 18- N\'§ '(e"\ GESUOFG“ q
a.k.a. “Eric," “Gabriel,” and “Chicago" ) N\
§ M~\% » ) \t l le-
Defendant(s)
CRIMINAL COMPLAINT
l, the complainant in this case, state that the following is true to the best of my knowledge and belief
On or about the date(s) of NOVember 9, 2017 in the county of Ea$t BafOn ROUQ€‘ in the
' l\/liddle District of Lou`lslana , the defendant(s) violated:
Code Section O_[fense Descrz'ptz`on
21 U.S.C. § 841(3)(1) Distribution of Controlled Substances

'l`his criminal complaint is based on these facts'.

See Attached Afndavlt

if Contlnued on the attached sheet.

j%/,M
/ Complainant '5 signature

Joshuah L. Badasch, Special /-\gent, FBl

 

Prinled name and title

Sworn to before me and signed in my presence

Date; 05/22/2018 Q_»QQ(\_:&

Judge 's si n

 

City and State; Baton Rouge, Louisiana Richard L. Bourgeois, Jr., , . agistrate Judge
Fr."nted name and title

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

Your Affiant, Joshuah L. Badasch, a Special Agent (“SA”) with the Federal Bureau of

Investigation (“FBI”), being duly sworn, deposes and states as follows:

l.

Affiant is a Special Agent with the Federal Bureau of Investigation and has
been employed as such since April 2008, during which time Affiant has
investigated violations of Federal laW, directed drug and street gang
investigations, obtained and executed search and arrest warrants related to the
distribution of illegal narcotics, obtained and directed drug related wire-taps,
and de-briefed Confidential Informants (“CI”), as well as cooperating
defendants

This Affidavit is produced for the sole purpose of establishing probable cause
and, therefore, does not include all facts known to Affiant. As a result of
Affiant’s participation in this investigation, reports made to him by other
federal agents and local law enforcement officers involved in the investigation,
and information obtained from a confidential source, Affiant is familiar with
all aspects of this investigation On the basis of this familiarity, Affiant
declares that the facts contained in this Affidavit show that there is probable
cause to believe that JAIME GABRIEL GRIMALDI PENA, a.k.a. “Eric,”
“Gabriel,” and “Chicago,” hereinafter referred to as PENA, and others known
and as yet unknown, have committed, are committing, and Will continue to

commit violations of Title 21, United States Code, Section 841(a)(l).

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3. On November 9, 2017, in the Middle District of Louisiana, at the direction of
law enforcement, the CI met with agents of the FBI at which time both the Cl
and his/her vehicle were searched for contraband with negative results. Cl
then conducted a consensually recorded call to PENA in the presence of
agents, to arrange for the purchase of heroin. Following the recorded call,
agents provided CI with a concealed audio/video recorder. CI then traveled to g
meet PENA at a residence located at 1783 Boulevard de Province, Baton
Rouge, Louisiana 70816, while under physical surveillance by agents. During
this meeting, CI obtained a quantity of heroin from PENA, which was
packaged in a vacuum sealed bag. Upon returning to the staging area, CI
turned over the above described heroin and the concealed audio/video recorder
to agents. CI stated that PENA was the only person at the residence and that
PENA retrieved the heroin from a utility closet in the kitchen of the residence.
Agents again searched CI for contraband with negative results.

4. Shortly thereafter, CI conducted a second consensually monitored telephone
call to PENA in the presence of agents, to arrange payment for the previously
acquired quantity of heroin. Following this consensually monitored telephone
call, agents again provided CI with the concealed audio/video recorder and
FBl funds in the form of United States currency_ CI then traveled to meet
PENA at a residence located at 1783 Boulevard de Province, Baton Rouge,
Louisiana 70816, while under physical surveillance by agents, and paid PENA
for the previously acquired heroin. Upon returning to the staging area, agents

deactivated the concealed audio/video recorder. Agents again searched CI and

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his/her vehicle for contraband with negative results. CI Stated to agents that
upon returning to PENA’s residenc'e, he/she gave the money to PENA, who
was the only person present at the residence

5. On the same day, Affiant reviewed the audio/video recordings of the
controlled drug evidence purchase and money delivery described above and
noted that both were consistent With information provided by the Cl.

6. On November 30, 2017, the Louisiana State Police Crime Laboratory
conducted a chemical analysis of the heroin purchased from PENA on
November 9, 2017. Test results confirmed that it is, in fact, heroin and
weighed in excess of 100 grams.

7. lt is requested that the warrant, and accompanying Affidavit and Application
in support thereof, as they reveal an ongoing investigation, be sealed until
further order of the Court in order to avoid premature disclosure of the
investigation, guard against the flight of fugitives, and better ensure the safety
of the Cl and others, except that copies of the warrant in full or redacted form
may be maintained by the United States Attorney’s Office and may be served
on Special Agents and other investigative and law enforcement officers of the
Federal Bureau of Investigation, federally deputized state and local law
enforcement officers, and other government and contract personnel acting
under the supervision of such investigative or law enforcement officers, as

necessary to effectuate the warrant.

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8. Based on the foregoing facts and Affiant’s training and experience Affiant

respectfully submits that probable cause exists to issue an arrest warrant for

JAIME GABRIEL GRIMALDI PENA, a.k.a. “Eric,” “Gabriel,” and

“Chicago,” for violations of 21 U.S.C. § 841(a)(l), distribution of controlled

substances

l declare that the above information is true and correct to the best of my knowledge

Q///Z»/L-

cial Agent J’oshuah L. Badasch
F ederal Bureau of Investigation

Sworn to and subscribed before me this 22"'2 day of May, 2018, at Baton Rouge,

Louisiana.

§TIORA L. oURdEoIs, JR.
UNITED sTATEs is E IUDGE

MIDDLE DISTRICT OF LOUISIANA

